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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
FEDERAL TRADE COMMISSION,                     )
                                              )
                       Plaintiff,             )
                                              )
       v.                                     )
                                                Case No. 1:21-cv-00217-RCL
                                              )
ENDO PHARMACEUTICALS, INC., et al.,           )
                                              )
                       Defendants.            )
                                              )
                                              )

                      IMPAX DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Impax Laboratories,

Inc. and Amneal Pharmaceuticals, Inc.’s (the “Impax Defendants”) move to dismiss the

complaint for failure to state a claim. Impax Defendants’ memorandum in support of this motion

is filed concurrently herewith.




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Dated: April 26, 2021                  Respectfully submitted,

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